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                            UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

MISSOURI STATE CONFERENCE OF                     )
THE NATIONAL ASSOCIATION FOR                     )
THE ADVANCEMENT OF COLORED                       )
PEOPLE, et al.,                                  )
                                                 )
                Plaintiffs,                      )
                                                 )
vs.                                              )        Cause No. 4:14 CV 2077 RWS
                                                 )
FERGUSON-FLORISSANT SCHOOL                       )
DISTRICT, et al.,                                )
                                                 )
                Defendants.                      )


      DEFENDANT FERGUSON-FLORISSANT SCHOOL DISTRICT’S MOTION FOR
                          SUMMARY JUDMENT

        Pursuant to Federal Rule of Civil Procedure 56(c) and Local Rule 7-4.01(E), Defendant Ferguson

Florissant School Board submits its Motion for Summary Judgment on Plaintiffs’ Petition. The reasons

in support of this Motion are set forth in full in the accompanying memorandum.

        Wherefore, Defendant Ferguson Florissant School Board, by counsel, respectfully requests the

Court grant its Motion for Summary Judgment and enter an Order dismissing Plaintiffs’ Complaint with

prejudice, and granting the Ferguson Florissant School Board any further legal or equitable relief that the

Court deems appropriate.




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                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that he is a person of such age and discretion as to be
competent to serve papers. It is further certified that on September 30, 2015, the undersigned
electronically filed the foregoing document with the Clerk of the Court using the CM/ECF system,
which will send notification of such filing to the following CM/ECF participant(s):

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      Dated this 30th day of September, 2015.

                                          s/ John A. Safarli
                                          John A. Safarli, pro hac vice




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